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         EXHIBIT H
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                                                      COVID Data Tracker




    Coronavirus Disease 2019 (COVID-19)




    CDC COVID Data Tracker
    Maps, charts, and data provided by the CDC


     Case Trends        Vaccinations        County View       Laboratory     Global Cases and Deaths       Community Impact 


                         Unique Populations        COVID-19 Home
      Cases and Deaths by State
                                          US and State Trends        Compare State Trends       Demographics        Trends by Population Factors
      Forecasting      Trends in ED Visits


     United States COVID-19 Cases and Deaths by State
     Reported to the CDC since January 21, 2020



                            TOTAL CASES                             CASES IN LAST 7                         TOTAL DEATHS

                     22,740,142                                                DAYS                         379,255
                          +217,393 New Cases
                                                                  1,737,820                                 +4,131 New Deaths

                                                                                                      CDC | Updated: Jan 13 2021 12:16PM




                     View:              Time period:                  Metric:
                       Cases              Last 7 Days                  Count
                       Deaths             Since Jan 21, 2020           Rate per 100,000


                          Total Number of COVID-19 Cases in the US Reported to the CDC, by State/Territory

                                                                                                                         Map        Chart




https://covid.cdc.gov/covid-data-tracker/#cases_totalcases                                                                                         1/5
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                                                                                     Territories
                                                           AS   FSM         GU        MP       PR         PW       RMI   VI




                                                                                 Total Cases
                    0 - 32,423         48,072 - 127,780          151,273 - 259,553             278,544 - 412,545         427,117 - 792,938         1,040,168 - 2,747,288




                                                                                           View Historic Case and Death Data                                  Download Map


                  Data Table for Total Cases by State/Territory                                                                                                            

                 CDC | Updated: Jan 13 2021 12:16PM                                                                                                  Download Data 

                   State/Territory                       Total Cases                               Con rmed                               Probable 
                   California                             2,747,288                                 N/A                                      N/A
                   Texas                                  1,995,292                                 N/A                                      N/A
                   Florida                                1,476,484                                 N/A                                      N/A
                   Illinois                               1,040,168                                 1,040,168                                0
                   Ohio                                   792,938                                   702,846                                  90,092
                   Georgia                                773,692                                   648,694                                  124,998
                   Pennsylvania                           733,429                                   650,116                                  83,313
                   New York*                              665,919                                   N/A                                      N/A
                   Tennessee                              660,874                                   569,671                                  91,203
                   Arizona                                636,100                                   601,850                                  34,250
                   North Carolina                         635,975                                   577,872                                  58,103
                   New Jersey                             594,749                                   537,115                                  57,634
                   Indiana                                570,477                                   N/A                                      N/A
                   Michigan                               570,150                                   525,612                                  44,538
                   Wisconsin                              555,249                                   511,136                                  44,113
                   New York City*                         506,377                                   439,800                                  66,577
                   Minnesota                              438,867                                   N/A                                      N/A
                   Massachusetts                          432,370                                   422,474                                  9,896
                   Missouri                               427,117                                   N/A                                      N/A
                   Virginia                               412,545                                   339,468                                  73,077
                   Alabama                                407,848                                   325,076                                  82,772

https://covid.cdc.gov/covid-data-tracker/#cases_totalcases                                                                                                                     2/5
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                   State/Territory               Total Cases    Con rmed    Probable 
                   Colorado                       364,336         348,030      16,306
                   South Carolina                 359,357         328,028      31,329
                   Louisiana                      352,939         N/A          N/A
                   Oklahoma                       346,621         274,612      72,009
                   Maryland                       314,867         N/A          N/A
                   Utah                           309,629         309,629      0
                   Kentucky                       308,729         246,392      62,337
                   Iowa                           298,406         N/A          N/A
                   Washington                     278,544         N/A          N/A
                   Arkansas                       259,553         N/A          N/A
                   Nevada                         252,842         N/A          N/A
                   Kansas                         247,502         206,090      41,412
                   Mississippi                    243,899         159,985      83,914
                   Connecticut                    217,047         204,505      12,542
                   Nebraska                       177,670         N/A          N/A
                   New Mexico                     157,974         N/A          N/A
                   Idaho                          151,273         124,248      27,025
                   Oregon                         127,780         126,060      1,720
                   South Dakota                   103,743         N/A          N/A
                   West Virginia                  103,203         83,089       20,114
                   Rhode Island                   101,393         N/A          N/A
                   North Dakota                   95,135          91,463       3,672
                   Montana                        87,077          87,077       0
                   Puerto Rico                    84,639          79,006       5,633
                   Delaware                       66,446          63,532       2,914
                   New Hampshire                  53,148          N/A          N/A
                   Alaska                         48,797          N/A          N/A
                   Wyoming                        48,072          41,116       6,956
                   District of Columbia           32,423          N/A          N/A
                   Maine                          31,149          25,707       5,442
                   Hawaii                         23,048          N/A          N/A
                   Vermont                        9,247           N/A          N/A
                   Guam                           7,444           N/A          N/A
                   Virgin Islands                 2,166           N/A          N/A
                   Northern Mariana
                                                  128             128          0
                   Islands
                   Republic of Marshall
                                                  4               4            0
                   Islands
                   American Samoa                 3               N/A          N/A
                   Federated States of
                                                  1               1            0
                   Micronesia
                   Palau                          0               N/A          N/A




                  How does COVID-19 Spread?
                  Learn more


                  Information on US COVID-19 Cases Caused by Variants
                  Learn more here




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                                                                                          View and Download COVID-19 Case Surveillance Public Use Data
 Data Sources, References & Notes: Data will update as soon as they are reviewed and veri ed, oftentimes before 8 pm ET. However, daily updates might be
 delayed due to delays in reported data.


 The case classi cations for COVID-19, a nationally noti able disease, are described in an an updated interim COVID-19 position statement and case de nition
 issued by the Council of State and Territorial Epidemiologists on August 5, 2020 .. However, there is some variation in how jurisdictions implement these case
 classi cations. More information on how CDC collects COVID-19 case surveillance data can be found at CDC’s COVID-19 FAQ webpage.


 Total cases are based on aggregate counts of COVID-19 cases reported by state and territorial jurisdictions to the Centers for Disease Control and Prevention
 (CDC) since January 21, 2020, with the exception of persons repatriated to the United States from Wuhan, China, and Japan. All displayed counts include con rmed
 COVID-19 cases and deaths as reported by U.S. states, U.S. territories, New York City (NYC), and the District of Columbia from the previous day. Counts for certain
 jurisdictions also include probable COVID-19 cases and deaths. Counts for NYC and New York State are shown separately; data for New York State show total cases
 and deaths for the state excluding data for NYC. COVID-19 case and death data that are not available to CDC are denoted by N/A.


 The map can be modi ed to show cases and deaths per 100,000 people in the last 7 days, total new cases and deaths in the last 7 days, total cases and deaths
 since January 21, 2020, and rates for cases (cases/100,000 people) and deaths (deaths/100,000). Totals per 100,000 people in the last 7 days are calculated as the 7-
 day moving average of new cases or deaths (current day + 6 preceding days divided by 7) per 100,000 people using the U.S. Census Bureau, 2019* American
 Community Survey 1-year estimates. Rates per 100,000 are calculated as the total cases or deaths per 100,000 people using the U.S. Census Bureau, 2019*
 American Community Survey 1-year estimates.


 *2018 population estimates are still used for American Samoa, Federated States of Micronesia, Guam, New York City, Northern Mariana Islands, Palau, Republic of
 Marshall Islands and United States Virgin Islands.


 CDC’s overall COVID-19 case and death numbers are validated through a con rmation process with each jurisdiction. COVID-19 case and death numbers reported
 on other websites may di er from what is posted on the CDC COVID Data Tracker due to the timing of reporting and COVID Data Tracker updates, which may
 di er by up to 24 hours. CDC COVID-19 counts from previous dates may be continually revised as more records are received and processed. Not all jurisdictions
 report counts daily; some counts are reported in batches and may increase COVID-19 case and death counts at di erent intervals and appear as spikes. The
 process used for nding and con rming COVID-19 cases and deaths displayed by other sites may di er.


 On 18 December, Texas reported 171,505 historical counts of probable cases with dates between 1 November and 18 December. This raised the total number of
 new cases in both Texas and the U.S. during this time period and correspondingly a ects the 7-day rolling average of new cases.



     HAVE QUESTIONS?

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